Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 1 of 38 PageID #: 7




                     Exhibit A
           Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 2 of 38 PageID #: 8



                                                                               012345ÿ783ÿ921ÿ ÿ0114ÿ012345ÿ158
ÿÿÿÿÿÿÿÿÿ!"ÿÿÿÿÿÿÿ# $ÿÿÿÿÿÿÿ%&''ÿ(ÿÿÿÿÿÿ)*'                 +32,1-. /40441 ÿÿ&"&11ÿ234#5675
ÿ                  89::;%%9::<=ÿ;ÿ563ÿ#>456ÿ?ÿ@5;25ABÿCB>A3Cÿ35CBÿ)ÿD3;%5C3E ÿ
ÿÿÿ!? ÿ^/1ÿU/1u13
%ÿF *ÿ'&ÿ!ÿ&ÿ% ÿÿ                                    C&*'ÿG'ÿ3'*IJ141,/,K G$Lÿ>$'&I
%ÿF *ÿ'&ÿA $&ÿ'&ÿC 'ÿG&H '                                                                   0ÿM,3/1
                                                                                0 41,/,K
                                                                        ÿ
  :8NO:N8989 ÿ" ÿ5"                                                                                                 ÿ
                     ÿPQJ+MÿRMSM90ÿT0U0RRVW9XMYUMZÿ[0ÿ000[+TMJÿ\Vÿ\][0ÿ900Mÿ00ÿ\]MÿJ[U[0[VTÿVTM
                       PQJ+Mÿ-MRÿ\]MÿVRJMRÿV^ÿPQJ+Mÿ000[+TMT\0ÿ0TJÿ[TJ[U[JQ0Y[_MJÿJV9XM\ÿ-Y0T
                                                                        ÿ
  :8N8`N8989 ÿA 'ÿC *a;A "N% *'ÿ2ÿC                                                                                 ÿ
                     ÿJ84.b1,ÿ[JÿWÿcdW099Wccefgÿ013h1ÿ\8ÿWÿi0YW0R\ÿ0\VRM0ÿM00\jÿY-ÿJkSk0ÿi0Y0R\gÿ013h13
                       Wÿgÿ013h1ÿJ21ÿWÿccWJM9Wcdgÿ013h1ÿ\/b1ÿWÿddddddgÿ013h/41ÿ\l1ÿWÿ913/7/1ÿ2/gÿR128,
                       J143/l/8,ÿWÿ013h1
                     ÿ6&' ÿ&1ÿC *a                                                                                      ÿ
                     ÿ0.bb8,ÿR1.3,1ÿ013h1ÿ ÿ913/7/1ÿ2/ÿ783ÿi2W23ÿ0831ÿM2ÿY-gÿMmÿ0ÿWÿR1.3,ÿR141/lÿR.1
                       nfop
                     ÿÿÿÿÿÿ!ÿ7LIÿ9ZRQ0ÿ9ÿJ00]\0X[
                       ÿÿÿÿÿ>ÿ7 F1ÿ>1IÿP0TMÿ]V+0T
                                                                        ÿ
  :8N:`N8989 ÿCHH&ÿq ;%*'                                                                                        ÿ
                     ÿJ84.b1,ÿ[JÿcdW099Wccefjÿ783ÿi0YW0R\ÿ0\VRM0ÿM00\jÿY-ÿJkSk0ÿi0Y0R\ÿ0QVT0
                       00UMJÿ0TJÿ0\\09]MJÿ[Tÿ-J^ÿ^VRÿ^VRÿ0\\VRTMZÿ\VÿRM\R[MUMÿ^RVÿ0M9QRM
                       900MTM\ÿ-9i
                     ÿ!"ÿq1&ÿCF 'ÿ!"                                                                               ÿ
                     ÿÿÿÿÿÿ!ÿ7LIÿ9ZRQ0ÿ9ÿJ00]\0X[
                     ÿCHH&ÿA r;C *aÿsLÿ2                                                                              ÿ
                     ÿR1t.1ÿ783ÿ0.bb8,ÿ-.3.2,ÿ8ÿR.1ÿnfopÿ013h/41ÿ ÿ2/
                     ÿÿÿÿÿÿ!ÿ7LIÿ9ZRQ0ÿ9ÿJ00]\0X[
                       ÿÿÿÿÿ>ÿ7 F1ÿ>1IÿP0TMÿ]V+0T
                     ÿ) 'ÿ!ÿÿ%*'ÿ%'                                                                                ÿ
                     ÿ-1//8,ÿ783ÿMbl8b1,ÿJ/43/b/,2/8,gÿMmÿ0ÿWÿ9VJgÿMmÿSÿWÿR\0Y
                     ÿ" ÿ5"                                                                                         ÿ
921,1ÿU13/8,ÿnofoc                              R1.3,ÿ8ÿ\8lÿ87ÿ-2K1                                R1121ÿookodkcdcd
                                                                                                      Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 3 of 38 PageID #: 9
                                                                                2011-CC01194

                    IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                 STATE OF MISSOURI


JANE HOGAN,                                          )
                                                     )
       Plaintiff,                                    )
                                                     )
       v.                                            )      Case No.
                                                     )
WAL-MART STORES EAST, LP,                            )
d/b/a WALMART,                                       )
                                                     )
       Serve: Registered Agent                       )
              120 South Central Avenue,              )
              Clayton, Missouri, 63105,              )
                                                     )
       Defendant.                                    )

                                 PETITION FOR DAMAGES

       COMES NOW Plaintiff Jane Hogan (“Hogan” or “Plaintiff”), by and through her

undersigned counsel, and for her Petition for violations of the Americans with Disabilities Act

(“Petition”) against Defendant Wal-Mart Stores East, LP d/b/a Walmart (“Defendant”), states:

                                       INTRODUCTION

       1.      Plaintiff brings this lawsuit to remedy unlawful disability discrimination in the

terms, conditions, and privileges of employment, failure to accommodate disability, and retaliation

in violation of Title I of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. §12101

et seq. and the ADA Amendments Act of 2008 (“ADAAA”).

       2.      Plaintiff seeks injunctive relief, equitable relief, punitive damages, and monetary

relief as compensation for Defendant’s violations of her rights under the ADA, pursuant to 42

U.S.C. § 12117; and attorney’s fees and costs, pursuant to 42 U.S.C. § 12205.

                                            PARTIES

       3.      Defendant is a foreign corporation registered with the Missouri Secretary of State

                                                1
                                                                                                       Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 4 of 38 PageID #: 10




that is duly organized, established, and existing under and by virtue of the laws of the State of

Delaware, with its principal place of business located at 702 Southwest Eighth Street, Bentonville,

Arkansas, 72716, United States.

        4.      Defendant is a corporation that employs more than fifteen (15) employees.

        5.      Hogan is an individual residing in St. Charles County, Missouri, and at all times

relevant to the allegations in this Complaint worked for Walmart at its retail store #5313, located

at 6100 Ronald Reagan Drive, Lake St. Louis, MO 63367.

        6.      Hogan has multiple sclerosis (“MS”), a disease of the central nervous system that

causes nerve damage and deterioration. Her medical condition substantially limits various major

life activities, including but not limited to standing, lifting, bending, and twisting.

                                  JURISDICTION AND VENUE

        7.      On or about October 29, 2019, Hogan filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (“EEOC”) within 300 days of the action complained

of. A true and correct copy of Hogan’s Charge of Discrimination is attached and incorporated by

reference as Exhibit A.

        8.      On or about September 28, 2020, the EEOC issued Hogan a Notice of Right to Sue.

Accordingly, Hogan has fully complied with all jurisdictional prerequisites to bring this action. A

true and correct copy of Hogan’s Notice of Right to Sue is attached and incorporated by reference

as Exhibit B.

        9.      Hogan has satisfied all administrative prerequisites, and now seeks relief in court.

        10.     Defendant’s unlawful employment practices complained of herein occurred in St.

Charles County, Missouri; therefore, jurisdiction and venue are proper in this Court.




                                                   2
                                                                                                         Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 5 of 38 PageID #: 11




                             FACTS COMMON TO ALL COUNTS

          11.   Defendant is an American multinational corporation that operates a chain of

superstores, discount department stores, and grocery stores.

          12.   Hogan began working for Defendant in 2004 as a People Greeter in Defendant’s

St. Peters, Missouri location.

          13.   In 2009, Hogan transferred to Defendant’s Lake St. Louis, Missouri location, and

maintained her position as a People Greeter.

          14.   As a result of her MS, she is unable to ambulate without the use of her motorized

wheelchair.

          15.   Her wheelchair is able to raise her body so that she is at the eye-level of a standing

person.

          16.   For the duration of her employment, she performed the essential functions of the

People Greeter position, and was known to be a good, diligent employee.

          17.   In March 2019, store manager Dennis O’Malley (“O’Malley”) informed Hogan that

Defendant would eliminate the People Greeter position on April 25, 2019.

          18.   After that time, the People Greeter position would be replaced with a new position

titled “Customer Host.”

          19.   The job descriptions and requirements for the old People Greeter position and the

new Customer Host position are very similar; both positions require interacting with customers

and preventing theft, however, the Customer Host position lists “standing for long periods of time”

as a physical activity that is necessary to perform an essential function of the position.

          20.   Standing is not an essential function of the Customer Host position.




                                                  3
                                                                                                           Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 6 of 38 PageID #: 12




          21.      It is not necessary to stand for long periods of time to perform any of the essential

functions of the Customer Host position.

          22.      Hogan is able to perform the essential functions of the Customer Host position with

or without reasonable accommodation.

          23.      In anticipation of the People Greeter position being eliminated, Hogan applied for

the Customer Host position on or about March 29, 2019.

          24.      At the time of her application, she also requested that she be permitted to use her

wheelchair as a reasonable accommodation to the physical activity of standing.

          25.      On or about April 5, 2019, the District Human Resource Manager, Greg Kerner

(“Kerner”) advised her that she was not likely to receive the requested accommodation.

          26.      On or about April 12, 2019, Defendant offered Hogan a Customer Host position,

provided her with employment onboarding documents, and sent her for a drug screening.

          27.      Defendant uses an outside corporation, Sedgwick, to manage human resource

issues.

          28.      On or about April 15, 2019, a Sedgwick representative informed Hogan that her

accommodation request was denied because Defendant’s corporate policy requires Customer

Hosts to be able to independently stand on their feet for long periods of time.

          29.      The Sedgwick representative further informed Hogan that Defendant rescinded

their job offer.

          30.      Consequently, Defendant’s qualification standard of “standing for long periods of

time” is the reason Defendant rescinded their job offer to Hogan.

          31.      On or about April 16, 2019 Hogan met with O’Malley and Kerner and was offered

a position monitoring the automated self-service checkout machines.


                                                     4
                                                                                                    Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 7 of 38 PageID #: 13




       32.     Self-Checkout Hosts are stationed in a tightly packed corral of automated checkout

machines, which is often packed with customers and their carts. Due to the small physical

environment, Hogan would not be able to navigate her wheelchair throughout the area to assist

shoppers with the self-checkout machines.

       33.     O’Malley and Kerner told Hogan that she would not be required to enter the

checkout corral, and instead could station herself at the entrance and direct shoppers to open

machines. However, when Hogan asked to receive this accommodation offer in writing, O’Malley

and Kerner refused.

       34.     The Self-Checkout Host is also required to replace register receipt tape in the

automated machines. This task would require Hogan to simultaneously lift the face of the machine

while maneuvering her wheelchair backwards, a function she cannot perform due to a dexterity

limitation in her hands. Although O’Malley and Kerner maintained that Self-Checkout Hosts are

not responsible for this task, Hogan knew that to be untrue.

       35.     Because Hogan knew she could not perform the essential functions of the Self-

Checkout Host without accommodation, she had to decline the offer because O’Malley and Kerner

would not guarantee the accommodation offer in writing.

       36.     After reluctantly declining the Self-Checkout Host job offer, Hogan instead

inquired about working as a Sales Associate, because she had previously worked shifts completing

Sales Associate tasks, such as returning stock to the shelves. O’Malley informed Hogan this was

not an option available to her.

       37.     Defendant refused to participate in any interactive dialogue with Hogan as to

potential accommodations that could be made. Defendant simply denied her accommodation

request, and rescinded her job offer.


                                                5
                                                                                                        Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 8 of 38 PageID #: 14




       38.     As a result of Defendant’s refusal to provide a reasonable accommodation, or to

engage in an interactive process, Hogan was constructively discharged, and her employment was

terminated on April 26, 2019.

       39.     Defendant discriminated against Hogan on the basis of her disability.

       40.     Defendant engaged in illegal discriminatory and retaliatory practices described

herein with malice, deliberate, and/or reckless indifference to Hogan’s rights.

                          COUNT I—DISCRIMINATION IN HIRING

       41.     Hogan incorporates by reference all preceding paragraphs as if fully stated herein.

       42.     The ADA makes it unlawful for an employer, with respect to hiring, to discriminate

against a qualified individual with a disability because of the disability of such

individual. § 12112(a).

       43.     Section 12112(b) defines "discriminate" to include utilizing standards, criteria, or

methods of administration that have the effect of discrimination on the basis of disability and using

qualification standards, employment tests, or other selection criteria that screen out or tend to

screen out an individual with a disability.

       44.     Defendant discriminated against Hogan when it characterized “standing for long

periods of time” as an essential function of the Customer Host position, and then determined that

no reasonable accommodation would allow her to perform that function.

       45.     The job description for the Customer Host position includes nine (9) essential

functions. Each essential function is set out in a paragraph, followed by the methods by which an

individual is expected to carry out the essential function.




                                                  6
                                                                                                         Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
 Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 9 of 38 PageID #: 15




       46.     The Customer Host job description lists “physical activities” that “are necessary to

perform one or more essential functions” of the Customer Host Position. Each physical activity is

set out in a paragraph.

       47.     “Stands for long periods of time” is listed as a physical activity.

       48.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[s]erves as a potential deterrent to criminal activity.” The

methods by which this essential function is to be carried out are:

                   a. maintaining a highly visible presence at entrance;

                   b. observing customer and associate behavior;

                   c. deactivating security tags;

                   d. checking receipts on large un-bagged high value items;

                   e. resolving alarm activations; and

                   f. thanking customers as they exit the facility.

       49.     It is not necessary to “stand for long periods of time” to perform the essential

function of deterring potential criminal activity, or any of the listed methods by which the essential

function is to be carried out.

       50.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[m]aintains area of responsibility in accordance with

Company policies and procedures.” The methods by which this essential function is to be carried

out are:

                   a. properly handling claims and returns;

                   b. arranging and organizing merchandise/supplies;

                   c. identifying shrink and damages; and


                                                  7
                                                                                                        Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 10 of 38 PageID #: 16




                    d. ensuring a safe work environment.

        51.     It is not necessary to “stand for long periods of time” to perform the essential

function of maintaining the area of responsibility, or any of the listed methods by which the

essential function is to be carried out.

        52.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[m]onitors activities and store standards within the store

that relate to safety, and basic customer traffic flow.” The methods by which this essential function

is to be carried out are:

                    a. maintaining safety standards to ensure a safe and clean environment; and

                    b. responding to assistance requests from customers and associates.

        53.     It is not necessary to “stand for long periods of time” to perform the essential

function of monitoring safety and basic customer traffic flow, or any of the listed methods by

which the essential function is to be carried out.

        54.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[a]ssists with securing and safeguarding the assets of the

Facility and property.” The methods by which this essential function is to be carried out are:

                    a. observing and communicating suspicious activity;

                    b. assisting with investigations;

                    c. maintaining paperwork, logs, and other required documentation;

                    d. appropriately executing emergency response procedures; and

                    e. and ensuring security and safety practices are in place and adhered to.




                                                     8
                                                                                                       Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 11 of 38 PageID #: 17




        55.     It is not necessary to “stand for long periods of time” to perform the essential

function of assisting with securing or safeguarding the assets of the facility, or any of the listed

methods by which the essential function is to be carried out.

        56.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[p]rovides customer service at facility exits.” The

methods by which this essential function is to be carried out are:

                    a. maintaining the overall appearance of the exit area;

                    b. straightening merchandise in the area;

                    c. placing carts in storage area;

                    d. distributing approved marketing or promotional materials; and

                    e. staying up-to-date on appropriate responses to emergency codes.

        57.     It is not necessary to “stand for long periods of time” to perform the essential

function of providing customer service, or any of the listed methods by which the essential function

is to be carried out.

        58.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[i]dentifies possible shrink activities and associated

risks.” The methods by which this essential function is to be carried out are:

                    a. proactively monitoring the front-end store area; and

                    b. using personal judgment to make informed and effective decisions

                        regarding the appropriate course of action to take when encountering

                        situations where illegal activity or behavior may be present.




                                                  9
                                                                                                        Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 12 of 38 PageID #: 18




       59.     It is not necessary to “stand for long periods of time” to perform the essential

function of identifying possible shrink activities and associated risks, or any of the listed methods

by which the essential function is to be carried out.

       60.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[i]nfluences the behavior of others.” The methods by

which this essential function is to be carried out are:

                   a. using respectful communication and resolving conflict in an assertive yet

                       tactful manner; and

                   b. using personal persuasion to effectively handle tense situations or

                       interactions with others.

       61.     It is not necessary to “stand for long periods of time” to perform the essential

function of influencing the behavior of others, or any of the listed methods by which the essential

function is to be carried out.

       62.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[c]omplies with company policies, procedures, and

standard of ethics and integrity.” The methods by which this essential function is to be carried out

are:

                   a. implementing related action plans;

                   b. using the Open Door Policy; and

                   c. applying these in executing business processes and practices.

       63.     It is not necessary to “stand for long periods of time” to perform the essential

function of complying with company policies, or any of the listed methods by which the essential

function is to be carried out.


                                                   10
                                                                                                         Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 13 of 38 PageID #: 19




        64.     The “Essential Functions” category of the job description specifies that it is an

essential function that a Customer Host “[c]ompletes work assignments and priorities.” The

methods by which this essential function is to be carried out are:

                    a. using policies, data, and resources;

                    b. collaborating with managers, co-workers, customers, and other business

                        partners;

                    c. identifying priorities, deadlines, and expectations;

                    d. carrying out tasks;

                    e. communicating progress and information;

                    f. determining     and   recommending       ways    to    address   improvement

                        opportunities; and

                    g. adapting to and learning from change, difficulties, and feedback.

        65.     It is not necessary to “stand for long periods of time” to perform the essential

function of completing work assignments and priorities, or any of the listed methods by which the

essential function is to be carried out.

        66.     “Standing for long periods of time” is not identified as an essential function of the

Customer Host position.

        67.     None of the methods by which an essential function is to be carried out requires an

individual to “stand for long periods of time.”

        68.     None of the other listed physical activities require an individual to “stand for long

periods of time.”

        69.     The qualification standard of “standing for a long period of time,” as used by

Defendant, is not job-related, because standing for a long period of time is not an essential function


                                                  11
                                                                                                          Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 14 of 38 PageID #: 20




of a Customer Host, nor a physical activity that is actually necessary to perform any essential

function.

        70.     Consequently, for the Customer Host position, Defendant utilizes unreasonable

qualification standards that tend to disqualify people with disabilities.

        71.     The qualification standard used by Defendant has the effect of discrimination on

the basis of disability. 42 U.S.C. § 12112(b).

        72.     In characterizing “standing for long periods of time” as an essential function,

Defendant seeks to avoid its duty to engage in an interactive process with an otherwise qualified

individual with a disability who is an applicant or employee.

        73.     In characterizing “standing for long periods of time” as an essential function,

Defendant seeks to avoid its duty to make reasonable accommodations to the known physical or

limitations of an otherwise qualified individual with a disability who is an applicant or employee.

        WHEREFORE, Plaintiff Jane Hogan respectfully requests that this Court will, after trial

by jury, enter judgment against Defendant and in favor of Plaintiff on Count I of her Petition for

Damages, and award Hogan damages in such amounts to be determined at trial as is deemed fair

and reasonable, including actual damages, past and future lost income, compensatory damages,

punitive damages; prejudgment interest, as allowed by law; for reasonable attorneys’ fees and costs

of suit; for injunctive relief or other appropriate equitable relief; and for such other relief as this

Court deems just, proper and as justice requires.

                                COUNT II—DISCRIMINATION

        74.     Hogan restates and incorporates by reference all prior allegation of this Petition as

if fully set forth herein.




                                                  12
                                                                                                          Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 15 of 38 PageID #: 21




       75.     Defendant rescinded its Customer Host job offer purporting that “standing for long

periods of time” is an essential function of the job.

       76.     Defendant rescinded its job offer purporting that there were no reasonable

accommodations that would allow Plaintiff to perform the essential functions of the job.

       77.     “Standing for long periods of time” is not an essential function of a Customer Host.

       78.     Plaintiff is qualified to carry out all the essential functions of the Customer Host

position using the methods specified in the job description, with or without reasonable

accommodation.

       79.     In fact, Plaintiff is uniquely qualified to carry out the essential functions related to

deterring criminal activity, maintaining safety, observing and communicating suspicious activity,

assisting in investigations, using personal judgement in response to illegal activity, resolving

conflict, and ensuring security practices are in place, because Plaintiff worked as a police officer

for eight (8) years before her employment with Defendant.

       80.     Moreover, Defendant’s Asset Protection Manager, Kyle Shanks (“Shanks”), was

the person to interview Plaintiff and offer her the Customer Host position.

       81.     Defendant discriminated against Plaintiff by reason of her disability when it refused

to engage in an interactive process with Plaintiff after she requested reasonable accommodation.

       82.     Defendant discriminated against Plaintiff by reason of her disability when it

unreasonably denied her request for reasonable accommodations.

       83.     Defendant discriminated against Plaintiff by reason of her disability when it

rescinded its Customer Host job offer.

       84.     Defendant discriminated against Plaintiff by reason of her disability when it

terminated her employment.


                                                 13
                                                                                                          Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 16 of 38 PageID #: 22




       85.     The agents, servants, and employees of Defendant identified above knew or should

have known of prohibitions against discrimination based on disability, and they did nothing to

address the discrimination directed towards Plaintiff and failed to implement effective and

appropriate procedures to stop the inequitable treatment of Plaintiff based on her disability, and

were at all times acting within the scope and course of their agency and employment; and/or their

actions were expressly authorized by Defendant; and/or their actions were ratified by Defendant,

thus making Defendant liable.

       86.     As a direct result of Defendants’ discriminatory practices, actions, omissions, and

failures to act as described herein, Hogan has sustained and continues to sustain damages,

including but not limited to economic loss in the form of lost wages and benefits of employment,

future lost wages and earnings, emotional pain, suffering, humiliation, fear, anxiety, dread,

inconvenience, mental anguish, embarrassment, and deprivation of her civil rights. In addition,

Hogan has incurred and will continue to incur attorneys’ fees, costs and expenses of suit.

       87.     Defendant’s conduct was outrageous because of its evil motive or reckless

indifference to Plaintiff’s civil rights, thereby entitling her to an award of punitive damages in an

amount that will punish Defendant and deter Defendant and others from like conduct.

       WHEREFORE, Plaintiff Jane Hogan respectfully requests that this Court will, after trial

by jury, enter judgment against Defendant and in favor of Plaintiff on Count II of her Petition for

Damages, and award Hogan damages in such amounts to be determined at trial as is deemed fair

and reasonable, including actual damages, past and future lost income, compensatory damages,

punitive damages; prejudgment interest, as allowed by law; for reasonable attorneys’ fees and costs

of suit; for injunctive relief or other appropriate equitable relief; and for such other relief as this

Court deems just, proper and as justice requires.


                                                  14
                                                                                                        Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 17 of 38 PageID #: 23




                        COUNT III—FAILURE TO ACCOMMODATE

        88.     Hogan restates and incorporates by reference, as if fully set forth herein, all prior

allegations of this Petition.

        89.     After Defendant unlawfully disqualified Plaintiff from the Customer Host position

and rescinded her job offer, it purported to offer her a “reasonable accommodation” in the form of

a job reassignment.

        90.     The proposed reassignment was as a Self-Checkout Host.

        91.     The Self-Checkout Host is required to replace register receipt tape in the automated

machines. This task would require Hogan to simultaneously lift the face of the machine while

maneuvering her wheelchair backwards, a function she cannot perform due to a dexterity limitation

in her hands. Although O’Malley and Kerner maintained that Self-Checkout Hosts are not

responsible for this task, Hogan knew that to be untrue.

        92.     When Hogan asked to receive this accommodation in writing, O’Malley and Kerner

refused.

        93.     Because O’Malley and Kerner refused to provide Hogan with the accommodation

in writing and Hogan knew she could not perform the essential functions of the Self-Checkout

Host without accommodation, she declined the job offer, and instead inquired about working as a

Sales Associate.

        94.     Hogan had previously been able to perform work similar to that of a Sales

Associate. Due in part to the elevating and maneuvering capability of her power wheelchair, she

is able to handle, restock, and backstock merchandise, including high shelves. However, O’Malley

and Kerner refused to entertain her request.




                                                 15
                                                                                                      Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 18 of 38 PageID #: 24




       95.     Defendant did not effectively offer an accommodation to Plaintiff when it

suggested job reassignment to a position that Defendant knew Plaintiff could not perform without

accommodation, and then refused to guarantee that an accommodation would be granted.

       96.     Defendant’s job reassignment “accommodation” is merely pretext.

       97.     Defendant did not participate in an interactive process when it refused to put a

verbal offer of accommodation in writing.

       98.     Defendant did not in good faith participate in an interactive process when it

misrepresented the responsibilities of a Self-Checkout Host.

       99.     Defendant did not participate in an interactive process when it refused to entertain

Plaintiff’s request for an alternate job position she was capable of performing with or without

accommodation.

       100.    Consequently, Defendant has discriminated against Plaintiff.

       101.    The agents, servants, and employees of Defendant identified above knew or should

have known of prohibitions against discrimination based on disability, and they did nothing to

address the discrimination directed towards Plaintiff and failed to implement effective and

appropriate procedures to stop the inequitable treatment of Plaintiff based on her disability, and

were at all such times acting within the scope and course of their agency and employment; and/or

their actions were expressly authorized by Defendant; and/or their actions were ratified by

Defendant, thus making Defendant liable.

       102.    As a direct result of Defendant’s discriminatory and retaliatory practices, actions,

omissions, and failures to act as described herein, Hogan has sustained and continues to sustain

damages, including but not limited to economic loss in the form of lost wages and benefits of

employment, future lost wages and earnings, emotional pain, suffering, humiliation, fear, anxiety,


                                                16
                                                                                                       Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 19 of 38 PageID #: 25




dread, inconvenience, mental anguish, embarrassment, and deprivation of her civil rights. In

addition, Hogan has incurred and will continue to incur attorneys’ fees, costs and expenses of suit.

       103.    Defendant’s conduct was outrageous because of its evil motive or reckless

indifference to Hogan’s civil rights, thereby entitling her to an award of punitive damages in an

amount that will punish Defendant and deter Defendant and others from like conduct.

       WHEREFORE, Plaintiff Jane Hogan, respectfully requests that this Court will, after trial

by jury, enter judgment against Defendant and in favor of Plaintiff on Count III of her Petition for

Damages; and award Hogan actual, compensatory, and/or punitive damages in such amounts to be

determined at trial as is deemed fair and reasonable; prejudgment interest, as allowed by law; for

reasonable attorneys’ fees and costs of suit; for injunctive relief or other appropriate equitable

relief; and for such other relief as this Court deems just, proper and as justice requires.

                                  COUNT IV—RETALIATION

       104.    Plaintiff engaged in protected activities, including but not limited to requesting

workplace accommodations.

       105.    Defendant has engaged in unlawful retaliatory acts that are prohibited under the

ADA.

       106.    Soon after Plaintiff requested workplace accommodations, Defendant took adverse

actions against Plaintiff, including but not limited to:

           a. denying Plaintiff’s requests for accommodations;

           b. rescinding her Customer Host job offer;

           c. denying her a timely, good faith interactive process; and

           d. terminating her employment.




                                                  17
                                                                                                       Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 20 of 38 PageID #: 26




        107.   The agents, servants, and employees of Defendant identified above knew or should

have known of prohibitions against discrimination based on disability, and they did nothing to

address the discrimination directed towards Plaintiff and failed to implement effective and

appropriate procedures to stop the inequitable treatment of Plaintiff based on her disability, and

were at all such times acting within the scope and course of their agency and employment; and/or

their actions were expressly authorized by Defendant; and/or their actions were ratified by

Defendant, thus making Defendant liable.

        108.   Defendant’s actions and/or omissions, as aforesaid, in effect, condoned, ratified,

and/or authorized the discrimination and mistreatment of Plaintiff, and constitute unlawful

retaliation.

        109.   As a direct result of Defendant’s discriminatory and retaliatory practices, actions,

omissions, and failures to act as described herein, Hogan has sustained and continues to sustain

damages, including but not limited to economic loss in the form of lost wages and benefits of

employment, future lost wages and earnings, emotional pain, suffering, humiliation, fear, anxiety,

dread, inconvenience, mental anguish, embarrassment, and deprivation of her civil rights. In

addition, Hogan has incurred and will continue to incur attorneys’ fees, costs and expenses of suit.

        110.   Defendant’s conduct was outrageous because of its evil motive or reckless

indifference to Hogan’s civil rights, thereby entitling her to an award of punitive damages in an

amount that will punish Defendant and deter Defendant and others from like conduct.

        WHEREFORE, Plaintiff Jane Hogan, respectfully requests that this Court will, after trial

by jury, enter judgment against Defendant and in favor of Plaintiff on Count IV of her Petition for

Damages; and award Hogan actual, compensatory, and/or punitive damages in such amounts to be

determined at trial as is deemed fair and reasonable; prejudgment interest, as allowed by law; for


                                                18
                                                                                                     Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 21 of 38 PageID #: 27




reasonable attorneys’ fees and costs of suit; for injunctive relief or other appropriate equitable

relief; and for such other relief as this Court deems just, proper and as justice requires.

                                  DEMAND FOR JURY TRIAL

       Plaintiff requests a trial by jury on all issues in this case which are so triable.

                                                       Respectfully Submitted,

                                                       /s/ Cyrus Dashtaki
                                                       Cyrus Dashtaki, #57606
                                                       Dashtaki Law Firm, LLC
                                                       5205 Hampton Avenue
                                                       St. Louis, MO 63109
                                                       Telephone:    (314) 932-7671
                                                       Facsimile:    (314) 932-7672
                                                       Email:        cyrus@dashtaki.com

                                                       Attorney for Plaintiff Jane Hogan




                                                  19
                                                                                  Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 22 of 38 PageID #: 28
                                                               2011-CC01194




                                                                       A
                                                                                  Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 23 of 38 PageID #: 29
                                                                                  Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 24 of 38 PageID #: 30
                                                                                  Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 25 of 38 PageID #: 31
                                                                                  Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 26 of 38 PageID #: 32
                                                                                                                                                    Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
            Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 27 of 38 PageID #: 33
                                                                                                                            2011-CC01194
EEOC Form 161 (11/16)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Jane E. Hogan                                                                   From:     St. Louis District Office
       119 MIRANDA CT                                                                            1222 Spruce Street
       Wentzville, MO 63385                                                                      Room 8.100
                                                                                                 Saint Louis, MO 63103


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                 EEOC Representative                                                           Telephone No.

                                                Jeffrey S. Jones,
560-2019-02314                                  Investigator                                                                  (314) 798-1928
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

                 The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                 Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge
       X         The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.
                 The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

                 Other (briefly state)



                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

                                                                     On behalf of the Commission
                                                                                 Digitally signed by James M. Gall


Enclosures(s)
                                           James M. Gall                         DN: cn=James M. Gall, o=EEOC, ou=Intake,
                                                                                 email=james.gall@eeoc.gov, c=US
                                                                                 Date: 2020.09.28 12:42:19 -05'00'
                                                                                                                             September 28, 2020
                                                                Lloyd J. Vasquez, Jr.,                                              (Date Mailed)
                                                                   District Director
cc:
           Scott A. Forman, Shareholder                                              Goeke, Emily
           WAL MART STORES, INC.                                                     MISSOURI PROTECTION AND ADVOCACY
           c/o Littler Mendelson, P.C.                                               SERVICES
           2301 Mcgee St., 8th Floor                                                 2000 Innerbelt Business Center Drive
           Kansas City, MO 64108                                                     Saint Louis, MO 63114



                                                                                                                                 B
                                                                                                                              Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
       Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 28 of 38 PageID #: 34
Enclosure with EEOC
Form 161 (11/16)
                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC
                               (This information relates to filing suit in Federal or State court under Federal law.
                      If you also plan to sue claiming violations of State law, please be aware that time limits and other
                             provisions of State law may be shorter or more limited than those described below.)

                                       Title VII of the Civil Rights Act, the Americans with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS               --
                                       the Genetic Information Nondiscrimination Act (GINA), or the Age
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s) named in the charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge. Generally, suits are brought in the State where the alleged unlawful practice occurred, but in
some cases can be brought where relevant employment records are kept, where the employment would have
been, or where the respondent has its main office. If you have simple questions, you usually can get answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS               --   Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 – not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII, the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period.

ATTORNEY REPRESENTATION --                     Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdiction
in your case may, in limited circumstances, assist you in obtaining a lawyer. Requests for such assistance must be
made to the U.S. District Court in the form and manner it requires (you should be prepared to explain in detail your
efforts to retain an attorney). Requests should be made well before the end of the 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptly in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certain time, all charge files
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the charge
file, please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                  IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
                                                                                            Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
          Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 29 of 38 PageID #: 35




Enclosures(s)


cc:
       Elizabeth Overton
       Walmart Supercenter
       2301 McGee Street, Suite 800
       c/o Littler Mendelson, P.C. GSC (LCS)
       Kansas City, MO 64108
                                                                                                                       Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
        Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 30 of 38 PageID #: 36
NOTICE OF RIGHTS UNDER THE ADA AMENDMENTS ACT OF 2008 (ADAAA): The ADA was
amended, effective January 1, 2009, to broaden the definitions of disability to make it easier for individuals to
be covered under the ADA/ADAAA. A disability is still defined as (1) a physical or mental impairment that
substantially limits one or more major life activities (actual disability); (2) a record of a substantially limiting
impairment; or (3) being regarded as having a disability. However, these terms are redefined, and it is easier to
be covered under the new law.

If you plan to retain an attorney to assist you with your ADA claim, we recommend that you share this
information with your attorney and suggest that he or she consult the amended regulations and
appendix,        and         other       ADA          related     publications,    available       at
http://www.eeoc.gov/laws/types/disability_regulations.cfm.

“Actual” disability or a “record of” a disability (note: if you are pursuing a failure to accommodate claim
you must meet the standards for either “actual” or “record of” a disability):

  The limitations from the impairment no longer have to be severe or significant for the impairment to
   be considered substantially limiting.
  In addition to activities such as performing manual tasks, walking, seeing, hearing, speaking, breathing,
   learning, thinking, concentrating, reading, bending, and communicating (more examples at 29 C.F.R. §
   1630.2(i)), “major life activities” now include the operation of major bodily functions, such as:
   functions of the immune system, special sense organs and skin; normal cell growth; and digestive,
   genitourinary, bowel, bladder, neurological, brain, respiratory, circulatory, cardiovascular, endocrine,
   hemic, lymphatic, musculoskeletal, and reproductive functions; or the operation of an individual organ
   within a body system.
  Only one major life activity need be substantially limited.
  With the exception of ordinary eyeglasses or contact lenses, the beneficial effects of “mitigating
   measures” (e.g., hearing aid, prosthesis, medication, therapy, behavioral modifications) are not
   considered in determining if the impairment substantially limits a major life activity.
  An impairment that is “episodic” (e.g., epilepsy, depression, multiple sclerosis) or “in remission” (e.g.,
   cancer) is a disability if it would be substantially limiting when active.
  An impairment may be substantially limiting even though it lasts or is expected to last fewer than six
   months.

“Regarded as” coverage:
  An individual can meet the definition of disability if an employment action was taken because of an
    actual or perceived impairment (e.g., refusal to hire, demotion, placement on involuntary leave,
    termination, exclusion for failure to meet a qualification standard, harassment, or denial of any other term,
    condition, or privilege of employment).
  “Regarded as” coverage under the ADAAA no longer requires that an impairment be substantially
    limiting, or that the employer perceives the impairment to be substantially limiting.
  The employer has a defense against a “regarded as” claim only when the impairment at issue is objectively
    BOTH transitory (lasting or expected to last six months or less) AND minor.
  A person is not able to bring a failure to accommodate claim if the individual is covered only under the
    “regarded as” definition of “disability.”

Note: Although the amended ADA states that the definition of disability “shall be construed broadly” and
“should not demand extensive analysis,” some courts require specificity in the complaint explaining how an
impairment substantially limits a major life activity or what facts indicate the challenged employment action
was because of the impairment. Beyond the initial pleading stage, some courts will require specific evidence
to establish disability. For more information, consult the amended regulations and appendix, as well as
explanatory publications, available at http://www.eeoc.gov/laws/types/disability_regulations.cfm.
                                                                                                Electronically Filed - St Charles Circuit Div - December 18, 2020 - 12:55 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 31 of 38 PageID #: 37
                                                                              2011-CC01194

                    IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                 STATE OF MISSOURI

JANE HOGAN,                                         )
                                                    )
       Plaintiff,                                   )
                                                    )
       v.                                           )      Case No.
                                                    )
WAL-MART STORES EAST, LP,                           )
d/b/a WALMART,                                      )
                                                    )
       Defendant.                                   )

                     REQUEST FOR SUMMONS PURSUANT TO
              RULE 54.16 ACKNOWLEDGEMENT OF SERVICE BY MAIL

       COMES NOW Plaintiff, by and through undersigned counsel, hereby requests the Circuit

Court Clerk issue a summons for service by mail in accordance with Rule 54.16 of the Missouri

Rules of Civil Procedure in this cause on the below named parties:

                      Wal-Mart Stores East, LP d/b/a Walmart
                      Registered Agent
                      120 South Central Avenue
                      Clayton, MO 63105

Appointed as requested:
Judy Zerr, Circuit Clerk


By: __________________________________              Date: _____________________________

                                                    Respectfully Submitted,

                                                    /s/ Cyrus Dashtaki
                                                    Cyrus Dashtaki, #57606
                                                    Dashtaki Law Firm, LLC
                                                    5205 Hampton Avenue
                                                    St. Louis, MO 63109
                                                    Telephone: (314) 932-7671
                                                    Facsimile: (314) 932-7672
                                                    Email: cyrus@dashtaki.com

                                                    Attorney for Plaintiff Jane Hogan
           Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 32 of 38 PageID #: 38

             IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

Judge or Division:                                              Case Number: 2011-CC01194
TED HOUSE
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
JANE HOGAN                                                      CYRUS C DASHTAKI
                                                                5205 HAMPTON AVENUE
                                                          vs.   SAINT LOUIS, MO 63109
Defendant/Respondent:                                           Court Address:
WAL-MART STORES EAST, LP D/B/A                                  300 N 2nd STREET
WALMART                                                         SAINT CHARLES, MO 63301
Nature of Suit:
CC Employmnt Discrmntn 213.111                                                                                               (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: WAL-MART STORES EAST, LP D/B/A WALMART
                            Alias:
 REGISTERED AGENT
 120 SOUTH CENTRAL AVENUE
 CLAYTON, MO 63105
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                     ___________12/18/2020_______________          _________________/S/ Cheryl Crowder__________________
    ST. CHARLES COUNTY
                                                    Date                                                  Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.



OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-2294             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 33 of 38 PageID #: 39




STATE OF MISSOURI                               )
                                                ) ss.
ST. CHARLES COUNTY, MISSOURI                    )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI



            NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES


        Pursuant to Missouri Supreme Court Rule 17, the Circuit Court of St. Charles County,
Missouri (Eleventh Judicial Circuit) has adopted a local rule to encourage voluntary alternative
dispute resolution. The purpose of the rule and the program it establishes is to foster timely,
economical, fair and voluntary settlements of lawsuits without delaying or interfering with a
party’s right to resolve a lawsuit by trial.

         This program applies to all civil actions other than cases in the small claims, probate and
family court divisions of the Circuit Court, and you are hereby notified that it is available to you
in this case.

        The program encourages the voluntary early resolution of disputes through mediation.
Mediation is an informal non-binding alternative dispute resolution process in which a trained
mediator facilitates discussions and negotiations among the parties to help them resolve their
dispute. The mediator is impartial and has no authority to render a decision or impose a
resolution on the parties. During the course of the mediation, the mediator may meet with the
parties together and separately to discuss the dispute, to explore the parties’ interests, and to
stimulate ideas for resolution of the dispute.

        A list of mediators approved by the court and information regarding their qualifications is
kept by the Circuit Clerk’s Office. If all parties to the suit agree to mediation, within ten days
after they have filed the Consent to Mediation Form on the reverse side of this page with the
Clerk of the Court, they shall jointly select from that list a mediator who is willing and available
to serve. If the parties cannot agree upon the mediator to be selected, the Court will make the
selection.

        The full text of the Circuit Court’s local court rules, including Rule 38 Alternative
Dispute Resolution, is available from the Clerk of the Circuit Court or at:
http://www.courts.mo.gov/hosted/circuit11/Documents/LOCAL_COURT_RULES.pdf

        A copy of this Notice is to be provided by the Clerk of the Circuit Court to each of the
parties initiating the suit at the time it is filed, and a copy is to be served on each other party in
the suit with the summons and petition served on that party.
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 34 of 38 PageID #: 40




STATE OF MISSOURI                             )
                                              ) ss.
ST. CHARLES COUNTY, MISSOURI                  )

             IN THE CIRCUIT COURT OF ST. CHARLES COUNTY, MISSOURI

___________________________________ )
                        Plaintiff(s), )
                                      )
vs.                                   )                      Cause #_____________________
                                      )
___________________________________ )
                        Defendant(s). )


                             CONSENT TO MEDIATION FORM


         I, the undersigned counsel of record in this case, hereby certify that I have discussed the
subject of mediation under the Court’s Alternative Dispute Resolution Program with my client(s)
in this case and that:

_____ We believe that mediation would be helpful in this case and consent to the referral of the
      case to mediation upon the filing of similar consents by all other parties in the case.

_____ We do not consent to the referral of this case to mediation.


                                                      __________________________________
                                                      Signature

                                                      __________________________________
                                                      (Print Name)

                                                      Attorney for:

                                                      __________________________________
                                                      (Party or Parties)

Date: __________________________
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 35 of 38 PageID #: 41




                 NOTICE TO ATTORNEYS AND LITIGANTS

           COURT PROCEDURES FOR IN-PERSON HEARINGS

  1. YOU MUST BRING AND WEAR A MASK WHILE IN THE COURTHOUSE.

  2. You MUST be here and check in at the beginning of the hour you are assigned.

  3. Only the Litigants and their Attorney are permitted in the Courthouse. No other family
     members are permitted in the Courthouse.

  4. Only 2 persons may use an elevator at a time. The stairwells will be open for separate
     entry and exit with instructions.

  5. A limited number of people are permitted in the courtroom at a time. If you are in the
     hallway waiting for your turn in court you MUST practice social distancing of 6 feet of
     separation. Follow the instructions of the bailiff at all times.

  6. You are only permitted to be on the same floor of the Courthouse as the Courtroom to
     which you are assigned.

  7. You MUST have all paperwork filed with the Court prior to the start of your court time.

  8. You MUST have all plea agreements worked out with the Prosecuting Attorney’s office
     and all paperwork filed with the Court prior to your Court date. No plea bargaining in
     Court will be permitted.
                                                                                                          Electronically Filed - St Charles Circuit Div - December 28, 2020 - 05:53 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 36 of 38 PageID #: 42




                    IN THE CIRCUIT COURT OF ST. CHARLES COUNTY
                                 STATE OF MISSOURI

JANE HOGAN,                                            )
                                                       )
       Plaintiff,                                      )
                                                       )
       v.                                              )       Case No. 2011-CC01194
                                                       )
WAL-MART STORES EAST, LP,                              )       Division 1
d/b/a WALMART,                                         )
                                                       )
       Defendant.                                      )

                               MEMORANDUM TO THE COURT

       Comes now Plaintiff, by and through her undersigned counsel, and files herewith Notice of

Mailing upon Defendant Wal-Mart Stores East, LP d/b/a Walmart, 120 S. Central Avenue, Clayton,

MO 63105, on December 22, 2020 by U.S.P.S. Certified Mail in accordance with Rule 54.16 of the

Missouri Rules of Civil Procedure. A copy of the signed U.S.P.S. Certified Mail return receipt

confirming the receipt of the same by Defendant’s registered agent is attached hereto as Exhibit A.

                                                       Respectfully Submitted,

                                                       /s/ Cyrus Dashtaki
                                                       Cyrus Dashtaki, #57606
                                                       Dashtaki Law Firm, LLC
                                                       5205 Hampton Avenue
                                                       St. Louis, MO 63109
                                                       Telephone: (314) 932-7671
                                                       Facsimile: (314) 932-7672
                                                       Email: cyrus@dashtaki.com

                                                       Attorney for Plaintiff



                                  CERTIFICATE OF SERVICE

         The undersigned hereby states that on this 28th day of December 2020, a true and correct copy
of the foregoing was filed electronically with Court’s filing system and was served upon all counsel of
record.

                                                       /s/ Cyrus Dashtaki
                                                                                  Electronically Filed - St Charles Circuit Div - December 28, 2020 - 05:53 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 37 of 38 PageID #: 43




                                                                 A
                                                                                  Electronically Filed - St Charles Circuit Div - December 28, 2020 - 05:53 PM
Case: 4:21-cv-00078-RLW Doc. #: 1-1 Filed: 01/21/21 Page: 38 of 38 PageID #: 44
